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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                                 )              In Proceedings
                                                       )              Under Chapter 13
Lionell Romeo Martin, Sr.,                             )
       aka ​Lionell Martin                             )
                                                       )              Case No. 18-18105
         Debtor(s).                                    )              Honorable Judge Hunt

                        OBJECTION TO CONFIRMATION OF PLAN

         NOW COMES Capital One Auto Finance, a division of Capital One, N.A., by and

through its undersigned attorney, on its Objection to Confirmation of Plan, and in support thereof

states as follows:

1.       Capital One Auto Finance, a division of Capital One, N.A., has a security interest in one

         2006 Ford Truck Expedition-V8 Utility 4D XLT 4WD, VIN 1FMPU16566LA00969,

         which was perfected by recording its lien on title.

2.       Capital One Auto Finance, a division of Capital One, N.A., alleges the value set forth in

         Debtor’s Chapter 13 Plan is unacceptable. Debtor proposes a “cramdown” pursuant to 11

         U.S.C. § 506 and alleges the value of the collateral is $1,602.00.

3.       Capital One Auto Finance, a division of Capital One, N.A., alleges the value of said

         vehicle is $6,225.00 pursuant to a N.A.D.A. valuation.

4.       Capital One Auto Finance, a division of Capital One, N.A. alleges the vehicle is

         over-secured and requests the petition balance of $5,859.84.

5.       Capital One Auto Finance, a division of Capital One, N.A., alleges the proposed set

         monthly payment is too low to pay the secured claim during the plan term.
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6.       Capital One Auto Finance, a division of Capital One, N.A., alleges the proposed interest

         rate of 5.50% is insufficient and requests a minimum of 6.00% interest.

         WHEREFORE, Capital One Auto Finance, a division of Capital One, N.A., respectfully

requests this Court for entry of an Order denying confirmation and for such other and further

relief as the Court deems just.

                                                     Respectfully submitted,
                                                     /s/ Jennifer M. Rinn________________
Rinn Richman Law LLC
PO Box 465
Chicago, IL 60690
Ph: 586-899-5086
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IN RE:                                              )              In Proceedings
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Lionell Romeo Martin, Sr.,                          )
       aka ​Lionell Martin                          )
                                                    )              Case No. 18-18105
         Debtor(s).                                 )              Honorable Judge Hunt

                NOTICE OF OBJECTION TO CONFIRMATION OF PLAN
                         AND CERTIFICATE OF SERVICE

*AN OBJECTION TO CONFIRMATION OF PLAN HAS BEEN FILED.

       Please be advised that the attached objection to confirmation of plan shall be presented on
September 17, 2018 at 10:30 am before the Honorable Judge Hunt ​at 219 South Dearborn,
Courtroom 719, Chicago, Illinois 60604,​ pursuant to the notice generated by the court on
September 14, 2018, to the following parties:

Marilyn O Marshall
224 South Michigan Ste 800
Chicago, IL 60604

       The objection was further served by depositing a printed copy into the US Mail on
September 14, 2018, with postage prepaid at the address listed on the creditor matrix, upon the
following parties, others not served:

Lionell Romeo Martin, Sr
14536 Murray
Dolton, IL 60419
                                                    /s/ Jennifer M. Rinn​___________________
                                                    Rinn Richman Law LLC
                                                    PO Box 465
                                                    Chicago, IL 60690
                                                    Ph: 586-899-5086
